
ON MOTION FOR REHEARING.
Russell, C. J.
It appears that Pressley and others bought two mules from McLanahan Brothers, giving to McLanahan Brothers a note for the purchase-price, in which title was reserved in the venders until payment of the note. The note contained also a stipulation that if it was not paid at maturity, McLanahan Brothers were empowered to retake the mules without legal process; and, after giving the makers ten-days notice in writing, to expose the mules for sale; and that if the mules were sold for more than the amount of the debt, the excess should be paid to the makers, and if they did not bring the amount of the debt, the makers would still be bound for any balance of the purchase-price remaining unpaid after the proceeds of the sale had been credited thereon. The terms of the writing are entirely unambiguous, there being no escape from their perfectly palpable meaning. The makers of the note paid $100 after its maturity, and this amount was credited on the note. Probably assuming that the remainder of the note would be paid, McLanahan Brothers did not at that time avail themselves of their option to retake the property. After the notes became due, however, and after more than two months had elapsed, no further payments being made, they sent for the mules, which were surrendered to them without protest, and they proceeded to give the ten-days notice in writing to the makers of the note; it is not disputed that this notice was given. Upon the day fixed for the sale the mules were exposed for sale, and one of the McLanahans, being the highest bidder, became the purchaser of the mules; which we will assume thus passed into the possession of McLanahan Brothers. *370The amount of McLanahan’s bid was then credited upon the' note, and the pending action was brought to recover the unpaid balance by suit upon the note. •
The insistence, of counsel for the plaintiffs in error, in the motion for rehearing, is that the sale was voidable; and with this contention we agree. It was voidable at the option of the maker of the note, if, within a reasonable time after the sale, he tendered the entire amount of the unpaid purchase-price due upon the note prior to the sale and at the time of the sale. There is no evidence that any tender to this effect was ever made or attempted. It was specifically stated in our decision in this case that the sale was not void. But the effect is the' same in any event, because the sale was voidable only if certain conditions were complied with, by the debtor, and it appears that no effort was made to comply with those conditions. The judgment rendered by the trial court did nothing more nor less than give effect to the terms of the unambiguous conditional contract in writing. The case of JucMer v. Boehm, 63 Ga. 72, is not in point. The point there decided was that a plea of utter failure of consideration was not available, where the plaintiff, in violation of his agreement,' foreclosed the mortgage given to secure the debt, and caused the total loss of the goods by reason of the seizure and sale. The question in this case is whether the contract is enforceable, and whether, if enforced, one who has reserved title under a power of sale to a personal chattel can be permitted to purchase at his own sale; and upon this point we held, in the original opinion, that, as a person can not at once be the agent for both the buyer and the seller, the debtor, as equitable owner of the property, if damaged by the sale, has the right to have it voided. But he can not do this so as to defeat the collection of the debt, and he is only permitted to do so by paying the debt. As pointed out in the decision, any other rule would be unfair to the holder of the note, because to prevent him from bidding at the sale would perhaps permit the only property of his insolvent debtor from which’ he could ever collect his debt to be sold for a song, and a bargain fall into the hands of a chance purchaser without benefit-ting either the creditor or the debtor. Rehearing denied.
